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 6
                                 UNITED STATES DISTRICT COURT
 7                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 8
       JACINDA DORIAN, individually and on               Case No.
 9
       behalf of all others similarly situated,
10                                                       CLASS ACTION COMPLAINT
                               Plaintiff,
11                                                       JURY DEMAND
                 v.
12
       AMAZON WEB SERVICES, INC., a
13
       Delaware corporation,
14
                               Defendant.
15

16          Plaintiff Jacinda Dorian brings this Class Action Complaint and Demand for Jury Trial

17   against Defendant Amazon Web Services, Inc. (“AWS”) to put a stop to its surreptitious

18   collection, use, and storage of Plaintiff’s and the proposed Class’s biometric data. Plaintiff

19   alleges as follows upon personal knowledge as to herself and her own acts and experiences, and,

20   as to all other matters, upon information and belief.

21                                      NATURE OF THE ACTION

22          1.        Amazon.com, Inc. (“Amazon.com”) is the world’s largest online retailer and one

23   of the largest providers of cloud computing services, called Amazon Web Services (“AWS”).

24          2.        According to Amazon.com, AWS is the world’s most comprehensive and broadly

25   adopted cloud platform, offering its customers over 200 cloud-based services from data centers

26   globally. Millions of customers—from startups to the largest enterprises—use AWS every day.

27          3.        One of AWS’s services is a facial recognition program called Amazon

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 1   Rekognition. Rekognition uses machine vision and algorithmic classification techniques to map

 2   human facial geometry and analyze the resulting data to, for example, check whether two

 3   photographs depict the same individual.

 4          4.      Thousands of organizations use Amazon Rekognition to identify individuals using

 5   face recognition. In such circumstances, individuals’ facial geometry is extracted by AWS and is

 6   stored not only by its customers on the cloud, but also by AWS on AWS’s own servers.

 7          5.      However, because Rekognition is a behind-the-scenes service for businesses,

 8   consumers are largely unaware that when they use their favorite mobile app or online service to

 9   verify their identities, AWS is actually collecting and storing their biometric data.

10          6.      Through these practices, AWS not only disregards individuals’ privacy rights; it

11   also violates the Biometric Information Privacy Act, 740 ILCS 14/1, et seq. (“BIPA”), which

12   was specifically designed to protect Illinois residents from practices like Amazon’s.

13          7.      Accordingly, this Complaint seeks an order (i) declaring that AWS’s conduct

14   violates the BIPA; (ii) requiring AWS to cease the unlawful activities discussed herein; and

15   (iii) awarding statutory damages to Plaintiff and the proposed Class (defined below).

16                                                PARTIES

17          8.      Plaintiff Jacinda Dorian is a citizen and resident of the State of Illinois and has an

18   intent to remain there, and is therefore a domiciliary of Illinois.

19          9.      Defendant Amazon Web Services, Inc. is a Delaware corporation with its

20   headquarters in Seattle, Washington. Amazon Web Services, Inc. is a subsidiary of

21   Amazon.com, Inc. (Amazon Web Services, Inc. and Amazon.com, Inc. are collectively referred

22   to as “Amazon,” unless otherwise specified).

23                                    JURISDICTION AND VENUE

24          10.     This Court has subject matter jurisdiction under 28 U.S.C. § 1332(d)(2) because

25   (a) at least one member of the Class is a citizen of a state different from Defendant, (b) the

26   amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (c) none of the

27   exceptions under that subsection apply to this action.

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 1           11.         The Court has personal jurisdiction over Defendant because Defendant is licensed

 2   to conduct business in this District and maintains its headquarters and principal place of business

 3   in this District.

 4           12.         Venue is proper in this District under 28 U.S.C. § 1391(b) because Defendant is

 5   licensed to conduct business in this District and its headquarters and principal place of business

 6   are maintained in this District.

 7                                         FACTUAL ALLEGATIONS

 8   I.      The Use of Biometrics and Consumer Privacy.

 9           13.         “Biometrics” refer to technologies used to identify an individual based on unique

10   physical characteristics. Common biometric identifiers include retina or iris scans, fingerprints,

11   voiceprints, or hand or face geometry scans.

12           14.         One of the most prevalent uses of biometrics is facial recognition technology,

13   which works by scanning an image for human faces, extracting facial feature data from a

14   photograph or image of a human face, generating a “faceprint” from the image through the use of

15   facial recognition algorithms, and then comparing the resultant faceprint to other faceprints

16   stored in a faceprint database. If a database match is found, a person may be identified.

17           15.         Unlike other identifiers such as Social Security or credit card numbers, which can

18   be changed if compromised or stolen, biometric identifiers linked to a specific voice or face

19   cannot. These unique and permanent biometric identifiers, once exposed, leave victims with no

20   means to prevent identity theft and unauthorized tracking. See also 740 ILCS 14/5(c).

21   II.     Illinois’s Biometric Information Privacy Act.

22           16.         Recognizing the “very serious need [for] protections for the citizens of Illinois

23   when it [came to their] biometric information,” the Illinois Legislature enacted BIPA in 2008.

24   See Illinois House Transcript, 2008 Reg. Sess. No. 276; 740 ILCS 14/5.

25           17.         The BIPA is an informed consent statute which achieves its goal by making it

26   unlawful for a company to, among other things, “collect, capture, purchase, receive through

27   trade, or otherwise obtain a person’s or a customer’s biometric identifiers or biometric

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 1   information, unless it first:

 2           (1) informs the subject . . . in writing that a biometric identifier or biometric
             information is being collected or stored;
 3
             (2) informs the subject . . . in writing of the specific purpose and length of term for
 4           which a biometric identifier or biometric information is being collected, stored, and
             used; and
 5
             (3) receives a written release executed by the subject of the biometric identifier or
 6           biometric information.”
 7   740 ILCS 14/15(b).
 8           18.     The BIPA also establishes standards for how companies must handle Illinois
 9   consumers’ biometric identifiers and biometric information. See, e.g., 740 ILCS 14/15(a), (c)–
10   (d). For instance, the BIPA requires companies to develop and comply with a written policy—
11   made available to the public—establishing a retention schedule and guidelines for permanently
12   destroying biometric identifiers and biometric information when the initial purpose for collecting
13   such identifiers or information has been satisfied or within three years of the individual’s last
14   interaction with the company, whichever occurs first. 740 ILCS 14/15(a).
15           19.     The BIPA also prohibits private entities from disclosing a person’s or customer’s
16   biometric identifier or biometric information to third parties without first obtaining consent for
17   that disclosure, 740 ILCS 14/15(d)(1), and further prohibits selling, leasing, trading, or otherwise
18   profiting from a person’s biometric identifiers or biometric information, 740 ILCS 14/15(c).
19           20.     “Biometric identifiers” include retina and iris scans, voiceprints, scans of hand
20   and fingerprints, and—most importantly here—face geometry. See 740 ILCS 14/10. “Biometric
21   information” is separately defined to include any information based on an individual’s biometric
22   identifier that is used to identify an individual. See id.
23           21.     The BIPA’s narrowly tailored provisions place no absolute bar on the collection,
24   sending, transmitting, or storing of biometric data. For example, the BIPA does not limit what
25   kinds of biometric data may be collected, sent, transmitted, or stored. Nor does the BIPA limit to
26   whom biometric data may be sent or transmitted, or by whom it may be stored. The BIPA simply
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 1   mandates that entities wishing to engage in that conduct must make proper disclosures,

 2   implement certain reasonable safeguards, and procure a user’s consent before collecting

 3   biometric data.

 4   III.   AWS Violates the BIPA.

 5          22.        Despite the BIPA being in force for over a decade, AWS operates a major

 6   biometric-based facial recognition platform in violation of the BIPA’s simple requirements.

 7          23.     Amazon Rekognition is a cloud-based service that, according to Amazon, makes

 8   it easy for its customers—from startups to leading corporations—to add image and video

 9   analysis, all performed by AWS through its Rekognition platform, to their applications, products,

10   and services. To use its service, an AWS customer just needs to provide AWS an image or video,

11   and then Rekognition can identify objects, people, text, scenes, and activities within the images

12   or video. Amazon even boasts that Rekognition provides facial analysis, face comparison, and

13   face search capabilities, including detecting, analyzing, and comparing faces for a wide variety

14   of use cases, including user verification, cataloging, and people counting. See Figures 1 and 2

15   below, showing screenshots from Amazon’s AWS marketing materials.

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24          (Figure 1.)
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23          (Figure 2.)
24          24.    Using Amazon Rekognition to perform facial recognition is simple. Anyone

25   seeking to perform facial recognition using Rekognition will first need to sign up for an AWS

26   account. See Figure 3, showing a screenshot of Amazon’s AWS website.

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13          (Figure 3.)

14          25.    An AWS customer could then register for and use Rekognition. See Figure 4,

15   showing a screenshot of the Rekognition homepage.

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26          (Figure 4.)

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 1          26.     After getting “started” with an Amazon Rekognition account, an AWS customer

 2   will need to install and configure AWS’s Command Line Interface (“CLI”) and Software

 3   Development Kit (“SDK”), which are programming toolkits that allow customers to manage and

 4   use their AWS services.

 5          27.     Once the AWS CLI and SDKs are set up and configured, an AWS customer can

 6   start interacting with and using Rekognition.

 7          28.     To start, a typical AWS customer will configure their applications or services to

 8   upload images to AWS’s cloud-based storage solution, called “S3” or “S3 buckets” (a “bucket”

 9   typically refers to a discrete instance of an S3 cloud storage container).

10          29.     Next, the AWS customer would run a command within the Amazon API (or

11   Application Programming Interface) interface called “index-faces” on the images it wishes to

12   compare. This command instructs Rekognition to detect and scan faces in images. Rekognition

13   then accesses the relevant images and uses its machine vision algorithms to extract the facial

14   geometry of the individuals pictured into a feature vector. These feature vectors include precise

15   coordinates describing essential facial landmarks such as the nose, corners of the mouth, eyes,

16   chin, pupils, and jawline, among others.

17          30.     The feature vectors of facial geometry, as well as higher-order details such as

18   whether a person is smiling, sad, or disgusted, or is wearing eyeglasses or sunglasses, are then

19   stored in an AWS backend database called a Rekognition “collection.” See Figure 5 below,

20   showing a screenshot of the Rekognition CLI listing a stored face from a “collection.”

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             (Figure 5.)
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            31.     Finally, the AWS customer would then use Rekognition to run a face matching
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     API command. For example, the customer could take the unique “FaceId” that index-faces
11
     assigned to a photo of a government identification card and search a collection to see if a
12
     matching self-portrait exists. If a match is found, the unique ID of that image is returned along
13
     with some data about the face, as well as a “Similarity” score, which is a confidence
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     measurement to indicate how strongly Rekognition believes these faces match. See Figure 6,
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     showing a screenshot of the Rekognition CLI.
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26          (Figure 6.)

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 1          32.     All of this time, the AWS customer would be communicating with AWS’s

 2   servers, where this information is stored and processed.

 3          33.     One such company that uses Rekognition is ProctorU Inc., which develops and

 4   licenses online test proctoring software for use by students and educational facilities.

 5          34.     When a student takes a test using ProctorU’s proctoring software, ProctorU

 6   requires students to show their faces and their photo IDs on camera to help verify their identities.

 7   See Figure 7, showing a screenshot of ProctorU’s software.

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             (Figure 7.)
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            35.     Unbeknownst to students in this example, when they upload their images to
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     ProctorU, they are also uploading their photos to ProctorU’s cloud-service provider, AWS. AWS
21
     then uses Rekognition to perform facial recognition on the student’s face and provided
22
     identification card to identify the student. In other words, when students sign in to ProctorU to
23
     take a test, their biometric data is also collected by AWS in order to identify the student for
24
     ProctorU.
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 1           36.       By and through the actions detailed above, AWS not only disregards consumers’

 2   privacy rights, but it also violates their statutorily protected rights to control the collection, use,

 3   and storage of their sensitive biometric data.

 4   IV.     Plaintiff Dorian’s Experience.

 5           37.       In 2020, Plaintiff Jacinda Dorian was a student at Columbia College and Harold

 6   Washington College, both located in Chicago, Illinois.

 7           38.       Plaintiff Dorian took multiple tests at both institutions between 2017 and 2019,

 8   each requiring the use of ProctorU’s software.

 9           39.       During that time, Plaintiff Dorian was required to submit her image as well as an

10   image of a valid identification document in order to be identified.

11           40.       Unbeknownst to Dorian, ProctorU used Amazon Rekognition to perform facial

12   recognition on her.

13           41.       At no time did Plaintiff Dorian receive notice from AWS, whether through

14   ProctorU or otherwise, that AWS was collecting, storing, and using her biometric data.

15           42.       At no time was Plaintiff Dorian asked for, nor at any time did she provide consent

16   for AWS to collect, store, or use her biometric data.

17           43.       Upon information and belief, at no time while possessing Plaintiff Dorain’s

18   biometric data did Amazon maintain a publicly-available retention and deletion schedule for

19   biometric data.

20                                         CLASS ALLEGATIONS

21           44.       Class Definition: Plaintiff Dorian brings this on behalf of herself and a class

22   defined as follows:

23                     All Illinois residents who had their biometric information or biometric
                       identifiers collected, captured, received, possessed, or otherwise obtained
24                     by Amazon’s Rekognition service and stored in AWS’s servers.

25   The following people are excluded from the Class: (1) any Judge or Magistrate presiding over

26   this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,

27   successors, predecessors, and any entity in which the Defendant or its parents have a controlling

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 1   interest and its current or former employees, officers and directors; (3) persons who properly

 2   execute and file a timely request for exclusion from the Class; (4) persons whose claims in this

 3   matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel

 4   and Defendant’s counsel; and (6) the legal representatives, successors, and assigns of any such

 5   excluded persons.

 6          45.     Numerosity: On information and belief, tens of thousands of consumers fall into

 7   the definition of the Class. Members of the Class can be identified through Defendant’s records,

 8   discovery, and other third-party sources.

 9          46.     Commonality and Predominance: There are many questions of law and fact

10   common to Plaintiff’s and the Class’s claims, and those questions predominate over any

11   questions that may affect individual members of the Class. Common questions for the Class

12   include, but are not necessarily limited to the following:

13                  a) whether Defendant collected, captured, or otherwise obtained Plaintiff’s and
                       the Class’s biometric identifiers or biometric information;
14

15                  b) whether Defendant properly informed Plaintiff and the Class of its purposes
                       for collecting, using, and storing their biometric identifiers or biometric
16                     information;
17                  c) whether Defendant obtained a written release (as defined in 740 ILCS 14/10)
18                     to collect, use, and store Plaintiff’s and the Class’s biometric identifiers or
                       biometric information;
19
                    d) whether Defendant has sold, leased, traded, or otherwise profited from
20                     Plaintiff’s and the Class’s biometric identifiers or biometric information;
21                  e) whether Defendant used Plaintiff’s and the Class’s faceprints or facial
22                     geometry to identify them; and

23                  f) whether Defendant’s violations of BIPA were committed intentionally,
                       recklessly, or negligently.
24
            47.     Typicality: Plaintiff’s claims are typical of the claims of other members of the
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     Class in that Plaintiff and the members of the Class sustained damages arising out of Defendant’s
26
     wrongful conduct.
27

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 1          48.     Adequate Representation: Plaintiff will fairly and adequately represent and

 2   protect the interests of the Class and has retained counsel competent and experienced in complex

 3   litigation and class actions. Plaintiff has no interests antagonistic to those of the Class, and

 4   Defendant has no defenses unique to Plaintiff. Plaintiff and her counsel are committed to

 5   vigorously prosecuting this action on behalf of the members of the Class and have the financial

 6   resources to do so. Neither Plaintiff nor her counsel has any interest adverse to those of the other

 7   members of the Class.

 8          49.     Policies Generally Applicable to the Class: This class action is appropriate for

 9   certification because Defendant has acted or refused to act on grounds generally applicable to the

10   Class as a whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible

11   standards of conduct toward the members of the Class and making final injunctive relief

12   appropriate with respect to the Class as a whole. Defendant’s policies that Plaintiff challenges

13   apply and affect members of the Class uniformly, and Plaintiff’s challenge of these policies

14   hinges on Defendant’s conduct with respect to the Class as a whole, not on facts or law

15   applicable only to Plaintiff. The factual and legal bases of Defendant’s liability to Plaintiff and to

16   the other members of the Class are the same.

17          50.     Superiority: This case is also appropriate for certification because class

18   proceedings are superior to all other available methods for the fair and efficient adjudication of

19   this controversy. The harm suffered by the individual members of the Class is likely to have been

20   relatively small compared to the burden and expense of prosecuting individual actions to redress

21   Defendant’s wrongful conduct. Absent a class action, it would be difficult if not impossible for

22   the individual members of the Class to obtain effective relief from Defendant. Even if members

23   of the Class themselves could sustain such individual litigation, it would not be preferable to a

24   class action because individual litigation would increase the delay and expense to all parties and

25   the Court and require duplicative consideration of the legal and factual issues presented. By

26   contrast, a class action presents far fewer management difficulties and provides the benefits of

27   single adjudication, economy of scale, and comprehensive supervision by a single Court.

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 1   Economies of time, effort, and expense will be fostered and uniformity of decisions will be

 2   ensured.

 3          51.     Plaintiff reserves the right to revise the “Class Allegations” and “Class

 4   Definition” based on facts learned through additional investigation and in discovery.

 5                                     FIRST CAUSE OF ACTION
                                      Violation of 740 ILCS 14/15(a)
 6                                  (On behalf of Plaintiff and the Class)
 7          52.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.
 8          53.     Section 15(a) of the BIPA requires that any “private entity in possession of
 9   biometric identifiers . . . must develop a written policy, made available to the public, establishing
10   a retention schedule and guidelines for permanently destroying biometric identifiers . . . when the
11   initial purpose for collecting or obtaining such identifiers . . . has been satisfied or within 3 years
12   of the individual’s last interaction with the private entity, whichever occurs first.” 740 ILCS
13   14/15(a).
14          54.     AWS fails to comply with these BIPA mandates.
15          55.     AWS is a corporation and thus qualifies as a “private entity” under the BIPA. See
16   740 ILCS 14/10.
17          56.     Plaintiff and the Class are individuals who had their “biometric identifiers”
18   collected by AWS (in the form of their facial scans), as explained in detail in Section III. See 740
19   ILCS 14/10.
20          57.     Plaintiff’s and the Class’s biometric identifiers or information based on those
21   biometric identifiers were used to identify them, constituting “biometric information” as defined
22   by BIPA. See 740 ILCS 14/10.
23          58.     On information and belief, AWS failed to publicly provide a retention schedule or
24   guideline for permanently destroying Plaintiff’s and the Class’s biometric identifiers and
25   biometric information, in violation of 740 ILCS 14/15(a).
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 1          59.     By collecting, storing, and possessing Plaintiff’s and the Class’s biometric

 2   identifiers and biometric information as described herein, AWS violated Plaintiff’s and the

 3   Class’s rights to privacy in their biometric identifiers or biometric information as set forth in

 4   BIPA, 740 ILCS 14/1, et seq.

 5          60.     Accordingly, on behalf of herself and the Class, Plaintiff seeks: (i) injunctive and

 6   equitable relief as is necessary to protect the interests of Plaintiff and the Class by requiring

 7   AWS to establish and make publicly available a policy for the permanent destruction of

 8   biometric identifiers compliant with 740 ILCS 14/15(a); (ii) statutory damages of $5,000 per

 9   intentional and/or reckless violation of the BIPA pursuant to 740 ILCS 14/20(2) or, in the

10   alternative, statutory damages of $1,000 per negligent violation of the BIPA pursuant to 740

11   ILCS 14/20(1); and (iii) reasonable attorneys’ fees and costs and other litigation expenses

12   pursuant to 740 ILCS 14/20(3).

13
                                     SECOND CAUSE OF ACTION
14                                    Violation of 740 ILCS 14/15(b)
                                   (On behalf of Plaintiff and the Class)
15
            61.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.
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            62.     The BIPA requires companies to obtain informed written consent from
17
     individuals before acquiring their biometric data. Specifically, BIPA makes it unlawful for any
18
     private entity to “collect, capture, purchase, receive through trade, or otherwise obtain a person’s
19
     or a customer’s biometric identifiers or biometric information, unless [the entity] first: (1)
20
     informs the subject ... in writing that a biometric identifier or biometric information is being
21
     collected or stored; (2) informs the subject ... in writing of the specific purpose and length of
22
     term for which a biometric identifier or biometric information is being collected, stored, and
23
     used; and (3) receives a written release executed by the subject of the biometric identifier or
24
     biometric information….” 740 ILCS 14/15(b) (emphasis added).
25
            63.     Unfortunately, AWS fails to comply with these BIPA mandates.
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 1             64.   AWS is a corporation and thus qualifies as a “private entity” under the BIPA. See

 2   740 ILCS 14/10.

 3             65.   Plaintiff and the Class are individuals who had their “biometric identifiers”

 4   collected by AWS (in the form of their facial scans), as explained in detail in Section III. See 740

 5   ILCS 14/10.

 6             66.   Plaintiff’s and the Class’s biometric identifiers or information based on those

 7   biometric identifiers were used to identify them, constituting “biometric information” as defined

 8   by BIPA. See 740 ILCS 14/10.

 9             67.   AWS violated 740 ILCS 14/15(b)(3) by failing to obtain written releases from

10   Plaintiff and the Class before it collected, used, and stored their biometric identifiers and

11   biometric information.

12             68.   AWS violated 740 ILCS 14/15(b)(1) by failing to inform Plaintiff and the Class in

13   writing that their biometric identifiers and biometric information were being collected and

14   stored.

15             69.   AWS violated 740 ILCS 14/15(b)(2) by failing to inform Plaintiff and the Class in

16   writing of the specific purpose and length of term for which their biometric identifiers or

17   biometric information was were being collected, stored, and used.

18             70.   By collecting, storing, and using Plaintiff’s and the Class’s biometric identifiers

19   and biometric information as described herein, AWS violated Plaintiff’s and the Class’s rights to

20   privacy in their biometric identifiers or biometric information as set forth in BIPA, 740 ILCS

21   14/1, et seq.

22             71.   On behalf of herself and the Class, Plaintiff seeks: (1) injunctive and equitable

23   relief as is necessary to protect the interests of Plaintiff and the Class by requiring Defendant to

24   comply with BIPA’s requirements for the collection, storage, and use of biometric identifiers and

25   biometric information as described herein; (2) liquidated damages of $5,000 for each intentional

26   and/or reckless violation of BIPA pursuant to 740 ILCS 14/20(2) or, in the alternative, liquidated

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                                                                                C ARSON N OEL PLLC
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 1   damages of $1,000 for each negligent violation of BIPA pursuant to 740 ILCS 14/20(1); and (3)

 2   reasonable attorneys’ fees, costs, and expenses pursuant to 740 ILCS 14/20(3).

 3                                         PRAYER FOR RELIEF

 4          Plaintiff Jacinda Dorian, individually and on behalf of all others similarly situated,

 5   respectfully requests that this Court enter an Order:

 6          a)        Certifying this case as a class action on behalf of the Class defined above,

 7   appointing Jacinda Dorian as representative of the Class, and appointing her counsel as class

 8   counsel;

 9          b)        Declaring that Defendant’s conduct, as set out above, violates the BIPA;

10          c)        Awarding statutory damages of $5,000 for each willful and/or reckless violation

11   of BIPA pursuant to 740 ILCS 14/20(2) or, in the alternative, statutory damages of $1,000 for

12   each negligent violation of BIPA pursuant to 740 ILCS 14/20(1);

13          d)        Awarding injunctive and other equitable relief as is necessary to protect the

14   interests of the Class, including an Order requiring Defendant to comply with BIPA;

15          e)        Awarding Plaintiff and the Class their reasonable litigation expenses and

16   attorneys’ fees;

17          f)        Awarding Plaintiff and the Class pre- and post-judgment interest, to the extent

18   allowable; and

19          g)        Awarding such other and further relief as equity and justice may require.

20                                             JURY DEMAND

21          Plaintiff requests a trial by jury of all claims that can be so tried.

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     Dated: March 7, 2022               Respectfully Submitted,
 1

 2                                      JACINDA DORIAN, individually and on behalf of
                                        all others similarly situated,
 3
                                        By: /s/ Wright A. Noel
 4
                                        One of Plaintiff’s Attorneys
 5

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10                                    *Pro hac vice admission to be sought.

11                                    Attorneys for Plaintiff and the Putative Class

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